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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS
EL PASO DIVISION

M.A.P.S, on her own behalf and on behalf
of others similarly situated,
Petitioner,

Vv.

ANGEL GARITE, MARY DE-ANDA-
YBARRA, DONALD J. TRUMP,
PAMELA BONDI, KRISTI NOEM, U.S.
DEPT. OF HOMELAND SECURITY,
TODD LYONS, U.S. IMMIGRATION
AND CUSTOMS ENFORCEMENT,
MARCO RUBIO, U.S. DEPT. OF
STATE, PETE HEGSETH, U.S. DEPT.
OF DEFENSE, MIGUEL VERGARA,
BRET BRADFORD, BOBBY
‘THOMPSON, CHARLOTTE COLLINS,
ROSE THOMPSON, and MURRAY
AGNEW,

Respondents.

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ORDER SETTING EXPEDITED BRIEFING SCHEDULE ON PRELIMINARY
INJUNCTION

On this day, the Court considered the above-captioned case. On May 10, 2025,
Petitioner M.A.P.S. (“Petitioner”), on behalf of herself and others similarly situated, filed “Class
Petition for Writ of Habeas Corpus And Complaint for Declaratory and Injunctive Relief”, ECF
No. 1. Therein, Petitioner seeks an injunction to “[e]njoin Respondents from transferring
Petitioners out of this district during the pendency of this litigation without advance notice to
counsel; “enjoin[] Respondents from removing them pursuant to the Proclamation” and “declare
unlawful the Proclamation”; and “[e]njoin Respondents from applying the Proclamation to
Petitioners without providing 30-day notice and an opportunity to respond to the designation prior

to the removal date.” Jd. at 27.
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Accordingly, IT IS HEREBY ORDERED that Petitioner M.A.P.S. SHALL FILE
a “Motion for Preliminary Injunction” (“Motion”) no later than Tuesday, May 20, 2025.

IT IS FURTHER ORDERED Respondents Angel Garite, Mary De-Anda-Ybarra,
Donald J. Trump, Pamela Bondi, Kristi Noem, U.S. Dept. Of Homeland Security, Todd Lyons,
U.S. Immigration and Customs Enforcement, Marco Rubio, U.S. Dept. Of State, Pete Hegseth,
U.S. Dept. of Defense, Miguel Vergara, Bret Bradford, Bobby Thompson, Charlotte Collins, Rose
Thompson, And Murray Agnew FILE A RESPONSE no later than Friday, May 23, 2025.

IT IS FURTHER ORDERED that Petitioner MAY FILE A REPLY no later than
Monday, May 26, 2025.

IT IS FINALLY ORDERED a hearing shall be set on the merits of the Motion

and an order setting such hearing is forthcoming.
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SIGNED this /@_ day of May 2025.
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THE HONGRABLE DAVID BRIONES
SENIOR UNITED STATES DISTRICT JUDGE

